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1    ERIN J. RADEKIN
     Attorney at Law - SBN 214964
2
     1001 G Street, Suite 100
3    Sacramento, California 95814
     Telephone: (916) 504-3931
4    Facsimile: (916) 447-2988
5
     Attorney for Defendant
6    AMBER COLLINS
7

8
                           IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )               2:15-cr-00176-TLN-7
                                         )
13
                             Plaintiff,  )
14                                       )               STIPULATION AND ORDER
     v.                                  )               TO CONTINUE JUDGMENT
15                                       )               AND SENTENCING
                                         )
16
     AMBER COLLINS, et al.,              )
17                                       )
                             Defendants. )               Judge Troy L. Nunley
18   __________________________________ )
19

20                                           STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Rosanne Rust, and defendant, Amber Collins, by and through her counsel, Erin J.
23
     Radekin, agree and stipulate to vacate the date set for judgment and sentencing, February 8, 2018
24

25   at 9:30 a.m., in the above-captioned matter, and to continue judgment and sentencing to March 1,

26   2018 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
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1           In addition, the parties stipulate to the following modification to the schedule of
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     disclosure relating to the pre-sentence report (“PSR”):
3
            Motion for correction of PSR                  February 15, 2018
4

5
            Government’s reply                            February 22, 2018

6           The reason for this request is that the defense needs additional time to obtain and review
7    records relevant to sentencing issues, and to prepare for sentencing. Such records include a
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     spreadsheet prepared by the government and recently provided to the defense relating to
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     restitution; police reports underlying Ms. Collins’s prior arrests, which are summarized in the
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11   PSR; and records relating to Ms. Collins’s children. The Court is advised Ms. Rust and United

12   States Probation Officer Lynda Moore have no opposition to the proposed dates set forth above,
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     and Ms. Rust has authorized Ms. Radekin to sign this stipulation on her behalf.
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            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
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     IT IS SO STIPULATED.
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17   Dated: January 29, 2018                              PHILLIP A. TALBERT
                                                          United States Attorney
18

19
                                                  By:     /s/ Rosanne Rust
                                                          ROSANNE RUST
20                                                        Assistant United States Attorney
21

22   Dated: January 29, 2018                              /s/ Erin J. Radekin
                                                          ERIN J. RADEKIN
23                                                        Attorney for Defendant
                                                          AMBER COLLINS
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25
                                                  ORDER
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            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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28   date set for judgment and sentencing, February 8, 2018 at 9:30 a.m. is VACATED and the

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              Case 2:15-cr-00176-TLN Document 301 Filed 01/30/18 Page 3 of 3


1    above-captioned matter is set for judgment and sentencing on March 1, 2018 at 9:30 a.m. in the
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     courtroom of the Honorable Troy L. Nunley.
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            It is FURTHER ORDERED that the schedule of disclosure be modified as follows:
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5
            Motion for correction of PSR                February 15, 2018

6           Government’s reply                          February 22, 2018
7    IT IS SO ORDERED.
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     Dated: January 29, 2018
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11                                                  Troy L. Nunley
                                                    United States District Judge
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